      Case 3:21-cv-00763-K Document 1-2 Filed 04/01/21                  Page 1 of 22 PageID 4



                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

 SHANETTA PETERSON                              §
     Plaintiff,                                 §
                                                §
 v.                                             §     CIVIL ACTION NO.
                                                §
 MARCUS CAMPBELL; AND                           §
 INTERMODAL CARTAGE CO., LLC                    §
      Defendants.                               §

                               INDEX OF STATE COURT FILE

         The following is an index identifying each state court document and the date in which each

document was filed in the 162nd Judicial District Court, Dallas County, Texas.


         EXHIBIT          DATE          DOCUMENT
            2                           State Court File

              2a        04/01/2021      Docket Sheet

              2b        03/22/2021      Plaintiff’s Original Petition

              2c        03/22/2021      Plaintiff’s Jury Demand

              2d        03/22/2021      Unserved Citation to Intermodal Cartage Co., LLC

              2e        03/22/2021      Unserved Citation to Marcus Campbell




2103786 v.1
9000/00001




STATE COURT INDEX                                                                          Solo Page
2103786
185.201
Case 3:21-cv-00763-K Document 1-2 Filed 04/01/21   Page 2 of 22 PageID 5




EXHIBIT 2a
4/1/2021                                                                  Details
               Case 3:21-cv-00763-K Document 1-2 Filed 04/01/21                     Page 3 of 22 PageID 6




            Case Information

            DC-21-03661 | SHANETTA PETERSON vs. MARCUS CAMPBELL, et al

            Case Number                             Court                           Judicial Officer
            DC-21-03661                             162nd District Court            MOORE, MARICELA
            File Date                               Case Type                       Case Status
            03/22/2021                              MOTOR VEHICLE ACCIDENT          OPEN




            Party

            PLAINTIFF                                                               Active Attorneys 
            PETERSON, SHANETTA                                                      Lead Attorney
            Address                                                                 LOAR, JOHN R
            10440 N. CENTRAL EXPRESSWAY                                             Retained
            SUITE 400
            DALLAS TX 75231




            DEFENDANT
            CAMPBELL, MARCUS

            Address
            794 CATALINA DRIVE
            LANCASTER TX 75146




            DEFENDANT
            INTERMODAL CARTAGE CO., LLC

            Address
            SERVING ITS REGISTERED AGENT, REGISTERED AGENT
            SOLITIONS
            1701 DIRECTORS BLVD., # 300
            AUSTIN TX 78744




https://courtsportal.dallascounty.org/DALLASPROD/Home/WorkspaceMode?p=0                                     1/3
4/1/2021                                                                  Details
               Case 3:21-cv-00763-K Document 1-2 Filed 04/01/21                     Page 4 of 22 PageID 7




            Events and Hearings


               03/22/2021 NEW CASE FILED (OCA) - CIVIL


               03/22/2021 ORIGINAL PETITION 


               ORIGINAL PETITION


               03/22/2021 JURY DEMAND 


               JURY DEMAND


               03/22/2021 ISSUE CITATION 


               ISSUE CITATION - INTERMODAL CARTAGE CO., LC

               ISSUE CITATION - MARCUS CAMPBELL


               03/29/2021 CITATION 


               Unserved

               Anticipated Server
               ESERVE

               Anticipated Method
               Comment
               INTERMODAL CARTAGE CO., LC


               03/29/2021 CITATION 


               Unserved

               Anticipated Server
               ESERVE

               Anticipated Method
               Comment
               MARCUS CAMPBELL




https://courtsportal.dallascounty.org/DALLASPROD/Home/WorkspaceMode?p=0                                     2/3
4/1/2021                                                                  Details
               Case 3:21-cv-00763-K Document 1-2 Filed 04/01/21                     Page 5 of 22 PageID 8

            Documents


               ORIGINAL PETITION
               JURY DEMAND
               ISSUE CITATION - INTERMODAL CARTAGE CO., LC
               ISSUE CITATION - MARCUS CAMPBELL




https://courtsportal.dallascounty.org/DALLASPROD/Home/WorkspaceMode?p=0                                     3/3
Case 3:21-cv-00763-K Document 1-2 Filed 04/01/21   Page 6 of 22 PageID 9




EXHIBIT 2b
                                                                                                                  FILED
1 CIT ESERVE                                                                                          3/22/2021 5:38 PM
                                                                                                         FELICIA PITRE
       Case 3:21-cv-00763-K Document 1-2 Filed 04/01/21                Page 7 of 22    PageID 10       DISTRICT CLERK
                                                                                                    DALLAS CO., TEXAS
JURY DEMAND                                                                                  Belinda Hernandez DEPUTY


                                   CAUSE NO. DC-21-03661

      SHANETTA PETERSON;                             §              IN THE DISTRICT COURT OF
                                                     §
               Plaintiff,                            §
                                                     §
      vs.                                            §                 DALLAS COUNTY, TEXAS
                                                     §
      MARCUS CAMPBELL; AND                           §
      INTERMODAL CARTAGE CO., LLC;                   §
                                                     §
                                                     §               162nd
               Defendants.                           §               - - - JUDICIAL DISTRICT
                                   PLAINTIFF'S ORIGINAL PETITION

                  Plaintiff Shanetta Peterson files Plaintiff's Original Petition complaining of

            Defendants Marcus Campbell and lntermodal Cartage Co., Inc.

                                    I. DISCOVERY CONTROL PLAN

                  Discovery is intended to be conducted under Level 3 pursuant to Rule 190

         of the TEXAS RULES OF CIVIL PROCEDURE.

                               II. RULE 47 PLEADING REQUIREMENTS

                  As required by Rule 47(b), Texas Rules of Civil Procedure, Plaintiff's

            counsel states that the damages sought are in an amount within the

            jurisdictional limits of this Court. As required by Rule 47(c), Texas Rules of Civil

            Procedure, Plaintiff's counsel states that Plaintiff seeks monetary relief of over

            $1,000,000. The amount of monetary relief actually awarded, however, will

            ultimately be determined by a jury. Plaintiff also seeks pre-judgment and post-

            judgment interest at the highest legal rate.




         PLAINTIFF'S ORIGINAL PETITION - Page 1
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                                    Ill. PARTIES

       Plaintiff Shanetta Peterson is an individual resident of Dallas, Dallas

County, Texas. Her driver's license number is *****363 and her social security

number is ***-**-*087.

       Defendant Marcus Campbell is an individual resident of Lancaster, Dallas

County, Texas and may be served with process at 794 Catalina Drive, Lancaster,

Texas 75146.

       Defendant lntermodal Cartage Co., LLC is a corporation doing business in

Austin, Travis County, Texas and may be served with process by serving its

regisetered agent, Registered Agent Solutions, Inc. at 1701 Directors Blvd .,

# 300, Austin, Texas 787 44.

                         IV. JURISDICTION AND VENUE

       The Court has jurisdiction over the controversy because the damages are

within the jurisdictional limits of this Honorable Court.

       This Court has venue over the parties to this action since the incident

complained of herein occurred in Dallas County, Texas. Venue therefore is

proper in Dallas County, Texas pursuant to the TEXAS CIVIL PRACTICE & REMEDIES

CODE §15.002.

                                      V. FACTS

       This lawsuit arises out of a motor vehicle collision that occurred on or

about Monday, June 15, 2020 on the southbound service road of 1-45 near

Fulgam Road within the city limits of Wilmer, Dallas County, Texas. Plaintiff

Shanetta Peterson was operating her vehicle south on the service road of 1-45




PLAINTIFF'S ORIGINAL PETITION - Page 2
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near Fulgam Road and was stopped for traffic ahead. Defendant Marcus

Campbell was operating his 18-wheeler behind Plaintiff's vehicle in the same

lane and headed in the same direction. Defendant Marcus Campbell failed to

slow and/or stop, colliding hard with the back of Plaintiff's vehicle. As a result of

the collision, Plaintiff was injured and continues to suffer injuries and damages

from this incident.

                             VI. CAUSES OF ACTION

A.     NEGLIGENCE - DEFENDANT MARCUS CAMPBELL

       At the time of the motor vehicle collision, Defendant Marcus Campbell was

operating his 18-wheeler negligently. Specifically, Defendant had a duty to

exercise ordinary care and operate his 18-wheeler reasonably and prudently.

Defendant breached that duty in one or more of the following respects:

       1.     Defendant failed to keep such proper lookout and attention to the
              roadway as a person or ordinary prudence would have kept under
              the same or similar circumstances;

       2.     Defendant failed to keep an assured safe distance from Plaintiff's
              vehicle;

       3.     Defendant failed to timely apply the brakes of his 18-wheeler in
              order to avoid the collision in question;

       4.     Defendant failed to control his speed; and

       5.     Defendant failed to safely operate his tractor-trailer.

B.     NEGLIGENT ENTRUSTMENT - DEFENDANT INTERMODAL
       CARTAGE CO., LLC

       As an additional cause of action, Plaintiff would show that at the time and

on the occasion in question, Defendant lntermodal Cartage Co., LLC was the




PLAINTIFF'S ORIGINAL PETITION - Page 3
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 owner of the vehicle driven by Defendant Marcus Campbell. Defendant

 lntermodal Cartage Co., LLC entrusted the vehicle to Defendant Marcus

 Campbell. Defendant Marcus Campbell was unlicensed, incompetent, and/or

 reckless and Defendant lntermodal Cartage Co., LLC knew or should have

 known that Defendant Marcus Campbell was unlicensed, incompetent, and/or

 reckless. Defendant Marcus Campbell's negligence on the occasion in question

 proximately caused the collision.

 C.    RESPONDEAT SUPERIOR - DEFENDANT INTERMODAL CARTAGE
       CO., LLC

       Additionally, Plaintiff would show that at the time and on the occasion

 complained of, Defendant Marcus Campbell was in the course and scope of his

 employment with Defendant lntermodal Cartage Co., LLC thereby making

 Defendant lntermodal Cartage Co., LLC liable under the doctrine of Respondeat

 Superior.

 D.    NEGLIGENCE - DEFENDANT INTERMODAL CARTAGE CO., LLC

       Defendant lntermodal Cartage Co., LLC failed to properly train and/or

 supervise Defendant Marcus Campbell in order to prevent collisions such as the

 one in question.

 E.    GROSS NEGLIGENCE - DEFENDANT INTERMODAL CARTAGE CO.,
       LLC

       In addition to actual damages, Plaintiff seeks to recover exemplary or

 punitive damages from Defendant lntermodal Cartage Co., LLC because

 Defendant's conduct was of such character as to constitute gross negligence.

 Defendant lntermodal Cartage Co., LLC's actions in connection with the collision




 PLAINTIFF'S ORIGINAL PETITION - Page 4
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 involved an extreme degree of risk, considering the probability and magnitude of

 the potential harm to Plaintiff and to other users of the public roadways.

 Defendant lntermodal Cartage Co., LLC had actual, subjective knowledge of the

 risk involved, but nevertheless acted in conscious indifference to the rights,

 safety, and welfare of others, including the Plaintiffs, when Defendant lntermodal

 Cartage Co., LLC chose to allow Defendant Marcus Campbell to operate a

 vehicle under Defendant lntermodal Cartage Co., LLC's motor carrier authority

 on public roadways at the time of the collision.

        Each of the above and foregoing acts and omissions, singularly or in

 combination, constituted the negligence that was the proximate cause of the

 motor vehicle collision and consequently the injuries and damages of Plaintiff.

                                    VII. DAMAGES

        As a proximate result of Defendants' negligence, Plaintiff suffered

 extensive injuries and damages. As a result of Plaintiff's injuries, Plaintiff suffered

 the following damages:

        a.     Medical expenses in the past and future;

        b.     Lost wages in the past and loss of earning capacity in the future;

        c.     Disfigurement;

        d.     Physical impairment in the past and future;

        e.     Physical pain and suffering in the past and future; and

        f.     Mental anguish in the past and future.




 PLAINTIFF'S ORIGINAL PETITION - Page 5
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               VIII. INTENT TO USE DEFENDANTS' DOCUMENTS

        Plaintiff hereby gives notice of intent to utilize items produced in discovery

 against the party producing same. The authenticity of such items is self-proven

 perTRCP 193.7.

                                   IX. JURY TRIAL

        Plaintiff demands a trial by jury and includes the appropriate jury fees.

                                X. U.S. LIFE TABLES

        Notice is hereby given to the Defendants that Plaintiff intends to use the

 U.S. Life Tables as prepared by the Department of Health and Human Services.

                                      XI. RELIEF

       WHEREFORE, PREMISES CONSIDERED, Plaintiff requests that

 Defendants be cited to appear and answer herein, and that upon final hearing

 thereof, Plaintiff recover judgment against Defendants for:

        1.     Plaintiff's past medical expenses, which are reasonable and
               customary for the medical care received by Plaintiff;

       2.      Plaintiff's future medical expenses;

        3.     Plaintiff's lost wages in the past and loss of earning capacity in the
               future;

       4.      Plaintiff's disfigurement;

        5.     Plaintiff's physical pain and suffering in the past and future in an
               amount to be determined by the jury;

       6.      Plaintiff's mental anguish in the past and future in an amount to be
               determined by the jury;

       7.      Plaintiff's physical impairment in the past and future in an amount to
               be determined by the jury;




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       8.     Interest on the judgment at the legal rate from the date of judgment;

       9.     Pre-judgment interest on Plaintiff's damages as allowed by law;

       10.    All costs of court; and

       11.    Such other and further relief to which Plaintiff may be justly entitled.


                                   Respectfully submitted,

                                   WITHERITE LAW GROUP, PLLC


                               BY: Isl Rob Loar
                                   ROB LOAR
                                   State Bar No. 24081007
                                   rob.loar@witheritelaw.com
                                   SHELLY GRECO
                                   State Bar No. 24008168
                                   shelly.greco@witheritelaw.com
                                   10440 N. Central Expressway
                                   Suite 400
                                   Dallas, TX 75231-2228
                                   214/378-6665
                                   214/378-6670 (fax)

                                   ATTORNEYS FOR PLAINTIFF




 PLAINTIFF'S ORIGINAL PETITION - Page 7
       Case 3:21-cv-00763-K Document 1-2 Filed 04/01/21             Page 14 of 22 PageID 17
                         Automated Certificate of eService
This automated certificate of service was created by the efiling system.
The filer served this document via email generated by the efiling system
on the date and to the persons listed below. The rules governing
certificates of service have not changed. Filers must still provide a
certificate of service that complies with all applicable rules.

Erica Lisenbe on behalf of Rob Loar
Bar No. 24081007
Erica. Lis en be@witheritelaw.com
Envelope ID: 51709650
Status as of 3/24/2021 11 :24 AM CST

Associated Case Party: SHANETTA PETERSON

Name       BarNumber   Email                        TimestampSubmitted     Status

Rob Loar               Rob. Loar@witheritelaw.com   3/22/2021 5:38:21 PM   SENT
Case 3:21-cv-00763-K Document 1-2 Filed 04/01/21   Page 15 of 22 PageID 18




 EXHIBIT 2c
Case 3:21-cv-00763-K Document 1-2 Filed 04/01/21                       Page 16 of 22 PageID 19




                                        FELICIA PITRE
                            DALLAS COUNTY DISTRICT CLERK

                                     NINA MOUNTIQUE
                                        CHIEF DEPUTY




                             CAUSE NO. DC-21-03661



                               SHANETTA PETERSON

                                               vs.

                            MARCUS CAMPBELL, et al



                                 162nd District Court



                     ENTER DEMAND FOR JURY
                 JURY FEE PAID BY: SHAN ETTA PETERSON

                                   FEE PAID: $40.00




                 600 COMMERCE STREET DALLAS, TEXAS 75202 (214) 653-7261
                      FAX (214)653-7781 E-mail: Felicia.Pitre@dallascounty.org
                      Web site: http ://www.dallascounty.org/distclerk/index.html
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EXHIBIT 2d
                         Case 3:21-cv-00763-K Document 1-2 Filed 04/01/21                             Page 18 of 22 PageID 21


FORM NO. 353-3 - CITATION                                                                                                             ESERVE
THE STATE OF TEXAS
                                                                                                                                    CITATION

To:     INTERMODAL CARTAGE CO., LLC
        BY SERVING ITS REGISTERED AGENT SOLUTIONS, INC.                                                                            DC-21-03661
         1701 DIRECTORS BLVD., #300
        AUSTIN, TX 78744
                                                                                                                               SHANETTAPETERSON
GREETINGS:                                                                                                                             Vs.
You have been sued. You may employ an attorney. If you or your attorney do not file a written                                 MARCUS CAMPBELL, et al
Answer with the clerk who issued this citation by IO o'clock a.m. of the Monday next following the expiration of
twenty days after you were served this citation and petition, a default judgment may be taken against you. In addition
to filing a written answer with the clerk, you may be required to make initial disclosures to the other parties of this
suit. These disclosures generally must be made no later than 30 days after you file your answer with the clerk. Find
                                                                                                                                   ISSUED THIS
out more at TexasLawHelp.org. Your answer should be addressed to the clerk of the 162nd District Court at 600                 29th day of March, 2021
Commerce Street, Ste. 101, Dallas, Texas 75202.

Said Plaintiff being SHANETTA PETERSON                                                                                            FELICIA PITRE
                                                                                                                                Clerk District Courts,
Filed in said Court 22nd day of March, 2021 against                                                                             Dallas County, Texas

MARCUS CAMPBELL AND INTERMODAL CARTAGE CO., LLC
                                                                                                                          By: CARLENIA BOULIGNY, Deputy
For Suit, said suit being numbered DC-21-03661, the nature of which demand is as follows:
Suit on MOTOR VEHICLE ACCIDENT etc. as shown on said petition, a copy of which accompanies this citation.
If this citation is not served, it shall be returned unexecuted.                                                                Attorney for Plaintiff
                                                                                                                                   JOHNRLOAR
WITNESS: FELICIA PITRE, Clerk of the District Courts of Dallas, County Texas.                                              WITHERITE LAW GROUP PLLC
Given under my hand and the Seal of said Court at office this 29th day of March, 2021.                                        10440 N CENTRAL EXPY
                                                                                                                                      STE 400
ATTEST: FELICIA PITRE, Clerk of the District Courts of Dallas, County, Texas                                                     DALLAS TX 75231
                                                                                                                                    214-378-6665
                                                                                                                            rob.loar@witheritelaw.com
                                ~µ~wh1 ~
                           By_ _ _ _ _ _ _ _~_~ _ '"'_ ,            _   #_,J_, Deputy                                          DALLAS COUNTY
                               CARLENIA BOULIGNY                                                                                SERVICE FEE.S
                                                                                                                                   NOT PAID
                      Case 3:21-cv-00763-K Document 1-2 Filed 04/01/21                      Page 19 of 22 PageID 22


                                                         OFFICER'S RETURN
Case No.: DC-21-03661
Court No.162nd District Court
Style: SHANETTA PETERSON
Vs.
MARCUS CAMPBELL, et al


Came to hand on the _ _ _ _ _ _ _day of _ _ _ _ _ _ _ _, 20_ _ _ _, at _____ o'clock _ _ _ _ .M. Executed at
_ _ _ _ _ _ _ _ _ _ _ _ _ _, within the County of                                            at               o'clock _ _ _ .M. on the
_ _ _ _ _ _ _day of_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _, 20_ _ _ _ _ _ _, by delivering to the within named




Each in person, a true copy of this Citation together with the accompanying copy of this pleading, having first endorsed on same date of delivery.
The distance actually traveled by me in serving such process was _ _ _ _miles and my fees are as follows: To certify which witness my hand.
                   For serving Citation    $_ _ _ __
                   For mileage             $ _ _ __               of _ _ _ _ _ _ _ _ County,
                  For Notary               $_ _ __                 by _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ Deputy
                                             (Must be verified if served outside the State of Texas.)
Signed and sworn to by the said _ _ _ _ _ _ _ _ _ _ _ _ before me this _ _ _ day of - - - - - - - - ' 20 _ __
To certify which witness my hand and seal of office.


                                                                        Notary Public                                       County _ _ _ __
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 EXHIBIT 2e
                       Case 3:21-cv-00763-K Document 1-2 Filed 04/01/21                      Page 21 of 22 PageID 24


FORM NO. 353-3 - CITATION                                                                                                   ESERVE
THE STATE OF TEXAS
                                                                                                                          CITATION

To:     MARCUS CAMPBELL
        794 CATALINA DRIVE                                                                                               DC-21-03661
        LANCASTER TX 75146

GREETINGS:                                                                                                           SHANETTAPETERSON
You have been sued. You may employ an attorney. If you or your attorney do not file a written                                Vs.
Answer with the clerk who issued this citation by 10 o'clock a.m. of the Monday next following the                  MARCUS CAMPBELL, et al
expiration of twenty days after you were served this citation and petition, a default judgment may be taken
against you. In addition to filing a written answer with the clerk, you may be required to make initial
disclosures to the other parties of this suit. These disclosures generally must be made no later than 30 days            ISSUED THIS
after you file your answer with the clerk. Find out more at TexasLawHelp.org. Your answer should be                 29th day of March, 2021
addressed to the clerk of the 162nd District Court at 600 Commerce Street, Ste. 101, Dallas, Texas
75202.
                                                                                                                        FELICIA PITRE
Said Plaintiff being SHANETTA PETERSON                                                                                Clerk District Courts,
                                                                                                                      Dallas County, Texas
Filed in said Court 22nd day of March, 2021 against

MARCUS CAMPBELL AND INTERMODAL CARTAGE CO., LLC                                                                 By: CARLENIA BOULIGNY, Deputy

For Suit, said suit being numbered DC-21-03661, the nature of which demand is as follows:                             Attorney for Plaintiff
Suit on MOTOR VEHICLE ACCIDENT etc. as shown on said petition, a copy of which accompanies                               JOHNRLOAR
this citation. If this citation is not served, it shall be returned unexecuted.                                  WITHERITE LAW GROUP PLLC
                                                                                                                    10440 N CENTRAL EXPY
WITNESS: FELICIA PITRE, Clerk of the District Courts of Dallas, County Texas.                                               STE 400
Given under my hand and the Seal of said Court at office this 29th day of March, 2021.                                 DALLAS TX 75231
                                                                                                                          214-378-6665
ATTEST: FELICIA PITRE, Clerk of the District Courts of Dallas, County, Texas                                      rob.loar@witheritelaw.com



                         By_ _ _ _ _ _ _ _ _ _ _ _ _ _ _, Deputy
                             CARLENIA BOULIGNY
                      Case 3:21-cv-00763-K Document 1-2 Filed 04/01/21                      Page 22 of 22 PageID 25


                                                         OFFICER'S RETURN
Case No.: DC-21-03661
Court No.162nd District Court
Style: SHANETTA PETERSON
Vs.
MARCUS CAMPBELL, et al


Came to hand on the _ _ _ _ _ _ _day of _ _ _ _ _ _ _ _, 20_ _ _ _, at _____ o'clock _ _ _ _ .M. Executed at
_ _ _ _ _ _ _ _ _ _ _ _ _ _, within the County of                                            at               o'clock _ _ _ .M. on the
_ _ _ _ _ _ _day of_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _, 20_ _ _ _ _ _ _, by delivering to the within named




Each in person, a true copy of this Citation together with the accompanying copy of this pleading, having first endorsed on same date of delivery.
The distance actually traveled by me in serving such process was _ _ _ _miles and my fees are as follows: To certify which witness my hand.
                   For serving Citation    $_ _ _ __
                   For mileage             $ _ _ __               of _ _ _ _ _ _ _ _ County,
                  For Notary               $_ _ __                 by _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ Deputy
                                             (Must be verified if served outside the State of Texas.)
Signed and sworn to by the said _ _ _ _ _ _ _ _ _ _ _ _ before me this _ _ _ day of - - - - - - - - ' 20 _ __
To certify which witness my hand and seal of office.


                                                                        Notary Public                                       County _ _ _ __
